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 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-490 JAM
10
                                   Plaintiff,
11
                            v.
12                                                                         ORDER
     IRINA MARKEVICH, ET AL.,
13
                                   Defendants.
14

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16          IT IS HEREBY ORDERED that Defendant Sergey Pukhkan and Counts Fifteen and Nineteen of
17
     the indictment in the above captioned case be dismissed without prejudice in the interest of justice.
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     Dated: 3/9/2015
19
                                                          /s/ John A. Mendez________________________
20                                                        THE HONORABLE JOHN A. MENDEZ
                                                          UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER                                   1
